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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )
                                     )                 CRIMINAL ACTION
v.                                   )
                                     )                 No. 09-20034-01-KHV
TAURINO CERECERES-MORALES,           )
                                     )
               Defendant.            )
_____________________________________)

                                            ORDER

       This matter is before the Court on defendant’s letter (Doc. #195) filed July 19, 2010, which

the Court construes as a motion to alter sentence. For reasons stated below, defendant’s motion is

overruled without prejudice.

       On May 19, 2010, the Court sentenced defendant to 60 months in prison. On May 28, 2010,

defendant filed his notice of appeal. See Doc. #181. Defendant now has filed a letter which claims

ineffective assistance and seeks to alter his sentence. Defendant essentially seeks relief under 28

U.S.C. § 2255. Absent extraordinary circumstances, the orderly administration of criminal justice

precludes a district court from considering a Section 2255 motion while a direct appeal is pending.

See United States v. Scott, 124 F.3d 1328, 1330 (10th Cir. 1997); United States v. Cook, 997 F.2d

1312, 1319 (10th Cir. 1993); Advisory Committee Note to Rule 5 of the Rules Governing § 2255

Proceedings. The Court therefore overrules defendant’s motion as premature.1


       1
              The Court need not address whether it has jurisdiction to entertain defendant’s
motion, because it would decline to do so in any event. Compare United States v. Hurd, 176 F.3d
490, 1999 WL 285921, at *1-2 (10th Cir. May 7, 1999) (district court without jurisdiction to hear
Section 2255 motion while appeal pending) with Advisory Committee Note to Rule 5 of the Rules
Governing § 2255 Proceedings (no jurisdictional bar to Section 2255 motion pending appeal).
                                                                                   (continued...)
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       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #195) filed July 19, 2010,

which the Court construes as a motion to alter sentence, be and hereby is OVERRULED.

Defendant may re-file his motion after his direct criminal appeal is concluded.

       Dated this 3rd day of August, 2010, at Kansas City, Kansas.

                                             s/ Kathryn H. Vratil
                                             KATHRYN H. VRATIL
                                             United States District Judge




       1
         (...continued)
Moreover, because defendant can re-file his motion after his direct appeal is concluded, he is not
prejudiced by the Court’s decision to overrule his motion as opposed to deferring ruling until his
appeal concludes. See United States v. Bey, 208 F.3d 227, 2000 WL 217059, at *2 (10th Cir.
Feb. 21, 2000) (Section 2255 motion not successive motion where it was first Section 2255 motion
filed after conclusion of direct criminal appeal).

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